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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                         )
LILIAN PAHOLA CALDERON JIMENEZ )
and LUIS GORDILLO, et al.,               )
                                         )
Individually and on behalf of all others )
similarly situated,                      )
                                         )           No. 1:18-cv-10225-MLW
                Plaintiffs-Petitioners,  )
                                         )
        v.                               )
                                         )
KIRSTJEN M. NIELSEN, et al.,             )
                                         )
                Defendants-Respondents.  )
                                         )

              STATUS REPORT AND MOTION FOR EXTENSION OF TIME AND
                           CONTINUANCE OF HEARING

        This Court has ordered the parties to confer by December 20, 2018, and:

        (a)      Report whether they have agreed to settle this case or to request jointly
                 that it be stayed; and

        (b)      Present any request they may have for discovery.

Dec. 7, 2018 Order (Dkt. No. 193) at 3. The parties address the status of each issue below.

Additionally, Petitioners respectfully move for (1) a continuance of the February 14-15, 2018

hearing; and (2) an extension of time to file the additional briefing the Court requested in its

December 7, 2018 Order. Id. at 3-4. Respondents do not oppose.

        (a)      Whether the parties have agreed to settle or stay this case

Petitioners’ Statement: After several inquiries from Petitioners, Respondents provided what they

characterize as a settlement offer today. Petitioners do not regard the document as a settlement

offer, but are committed to continuing discussions using the document Respondents provided.




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Respondent’s Statement: On December 20, 2018, Respondents sent Petitioners a proposed

written settlement offer, which, if approved by Petitioners, could form the basis of a formal

settlement agreement.

        (b)     Requests for discovery

        Petitioners sent initial requests for production to Respondents for discussion on

December 20, 2018 and intend to send additional written discovery related to the individual

Petitioners’ claims. See Am. Compl. ¶¶ 112-146. Petitioners and Respondents will meet and

confer to discuss any discovery requests and the parties will report to the Court as appropriate.

The parties understand that any discovery will be produced pursuant to agreement or court order.

See ECF No. 168 (“The parties shall not serve any additional requests for discovery unless a

motion to do so is allowed.”); ECF No. 193 (requiring the parties to “present any request they

may have for discovery.”).

        (c)     Motion for an extension of time and a continuance of the February 14, 2018
                hearing

        Pursuant to Local Rule 7.2, Petitioners respectfully move this Court to: (1) extend the

deadline for the filing of the parties’ supplemental briefing regarding “vesting” and Petitioners’

Administrative Procedure Act and Equal Protection Clause claims until January 25, 2018; (2)

extend the deadline for the filing of the parties’ replies until February 8, 2018; and (3) continue

the February 14-15 hearing until March 4-6 2018, subject to the Court’s availability. The

requested extension of time is necessary because the existing hearing date conflicts with

professional obligations of Petitioners’ lead counsel, including a trial in this district, and to allow

Petitioners and their counsel to fully prepare the supplemental briefing. Petitioners have

conferred with Respondents’ counsel, who do not oppose.




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            Respectfully submitted this 20th day of December, 2018.



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